Case 2:02-cV-02791-.]PI\/| Document 102 Filed 05/25/05 Page 1 of 8 Page|D 149

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

JAMES STEPHEN BROWN,
Plaintiff,

v. No. 02-2791 Ml/An

KEITH T. SIEBERT,

Defendant.

V\_r\\-¢\_I\_¢\_¢\-¢\-I\-I

 

ORDER DENYING PLAINTIFF’S MOTION FOR ADDITUR OR IN THE
ALTERNATIVE MOTION FOR NEW TRIAL AS TO DAMAGES

 

Before the Court is Plaintiff's Motion for Additur or in the
Alternative Motion for New Trial as to Damages, filed February
28, 2005. Defendant responded in opposition on March 9, 2005.
For the following reasons, Plaintiff’s motion is DENIED.

The instant case arose out of Plaintiff's apprehension and
arrest by officers of the Memphis Police Department following a
police pursuit during which Plaintiff attempted to evade the
police and eventually crashed his vehicle into a tree. ln his
Complaint, Plaintiff asserted claims of excessive force pursuant
to 42 U.S.C. § 1983 as well as state law claims of assault and
battery, intentional infliction of emotional distress and
outrageous conduct, conspiracy, and negligence against all

Defendants. Prior to trial, all of Plaintiff's claims against

T¥ ' document entered on the duc§a snf-et m eS<Jmpu-awca
l|S l . .u __ -.

wthweSBandwr?Q@]FRCPun

/O&

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 2 of 8 Page|D 150

Defendants the City of Memphis, Mayor W.W. Herenton and Director
of the Memphis Police Department W.E. Crews (the “Municipal
Defendants”) were dismissed.l (See Order Granting Def. City of
Memphis' Mot. for Summ. J. and Dism. Def. Herenton and Def.
Crews, September 30, 2004 (Docket No. 6?).) Also prior to trial,
Plaintiff’s state law claims of intentional infliction of
emotional distress and outrageous conduct,r conspiracy, and
negligence against Defendants Davenport, Ray, Siebert, McGaughy,
and Locastro (the “Individual Officer Defendants”) were
dismissed. (See Order Granting in Part and Denying in Part the
Mot. for Summ. J. of Defs. Davenport, Ray, Siebert, McGaughy, and
Locastro, September 30, 2004 (Docket No. 66).

A trial was held in this case on February 14-18, 2005. At
the close of evidence, the Court granted the oral motions for
judgment as a matter of law of all of the lndividual Officer
Defendants except Officer Siebert. (See Order Confirming Grant
of Oral Motions for J. as a Matter of Law by Defs. Locastro,
Davenport, Ray, and McGaughy, March l, 2005 (Docket No. 91).) On
February 18, 2005, the Jury was charged and began its
deliberations regarding Plaintiff's two remaining claims against
Defendant Officer Siebert - excessive force under 42 U.S.C. §

1983, and assault and battery under Tennessee law. On that same

 

1 Plaintiff conceded that the claims against Defendants
Herenton and Crews should have been dismissed in his response to
Defendants' motion for summary judgment.

2

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 3 of 8 Page|D 151

date, the Jury returned a verdict finding Defendant Officer
Siebert liable under 42 U.S.C. § 1983 for using excessive force
in apprehending the Plaintiff, but not liable under Tennessee law
for perpetrating an assault and battery on Plaintiff.2

The Jury originally awarded $0.00 in damages regarding
Plaintiff’s § 1983 claim.3 The Court subsequently provided the
Jury with a supplemental instruction with respect to nominal
damages and instructed the Jury to continue its deliberations.4

The Jury then returned a supplemental verdict awarding Plaintiff

 

2 Specifically, the Jury responded “yes” to the question
“[h]as the plaintiff proven by a preponderance of the evidence
that defendant KEITH T. SIEBERT used excessive force against him
on October 18, 2001, in violation of his federally protected
rights?” and “no” to the question “[h]as the plaintiff proven by
a preponderance of the evidence that defendant KEITH T. SIEBERT
is liable for assault and battery on the plaintiff?” (Jury
Verdict Form, Docket No. 86.)

3 Specifically, in response to the question “[u]nder the
laws given to you in these instructions, state the amount of
compensatory damages, if any, that plaintiff JAMES STEPHEN BROWN
should be awarded from the defendant KEITH T. SIEBERT,” the Jury
responded as follows:

Medical Expenses: $O
Lost Wages: $0
Compensatory Damages(other

than medical expenses): $0

(Jury Verdict Form, Docket No. 86.)

4 The Court’s supplemental instruction was as follows:
If you return a verdict for the Plaintiff, but find
that the Plaintiff has failed to prove by a
preponderance of the evidence that he suffered any
actual damages, then you must return an award of
damages in some nominal or token amount not to exceed
the sum of one dollar.

(February 18, 2005, Trial Tr. at 45:18-23.)

3

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 4 of 8 Page|D 152

nominal damages of $1.00 against Defendant Officer Siebert on
Plaintiff's § 1983 claim.5

Plaintiff contends that the Jury’s award of nominal damages
of $1.00 is contrary to the evidence presented and accordingly
moves the Court to either enter judgment for an amount of damages
consistent with those presented at trial or, alternatively, order
a new trial as to damages. Defendant maintains that Plaintiff
seeks relief that is unavailable under federal law and that the
Jury’s verdict was consistent with the evidence received in this
case.

The Seventh Amendment generally prohibits a Court from
granting an additur after federal jury trials. Dimick v. Schiedt,
293 U.S. 474, 486-87 (1935); see also Travlor v. United States,
396 F.2d 837, 840, n. 4 (6th Cir. 1968); Clay v. Gordon, No. 98-
6408, 205 F.3d 1339, 2001 WL 191936 at * 3 (6th Cir. Feb. 10,
2000). An exception to that rule exists when the parties consent
to additur or when the amount of damages are undisputed. §lay,
2001 WL 191936 at *3 (citations omitted). Here, although the
amount of medical costs incurred by Plaintiff subsequent to his
apprehension is not disputed, the parties dispute whether or not

those costs are attributable to the conduct of Defendant Siebert.

 

5 Specifically, the Jury was asked to “state the amount of

nominal damages that plaintiff JAMES STEPHEN BROWN should be
awarded from the defendant KEITH T. SIEBERT.” The Jury responded
$1.00. (Supplemental Jury Verdict Form, Docket No. 87.)

4

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 5 of 8 Page|D 153

Accordingly, the Court finds that granting an additur in this
case would not comport with the Seventh Amendment.
The authority to grant a new trial under Rule 59 rests

within the discretion of the trial court. Allied Chemical Corp.

 

v. Daiflonl lnc., 449 U.S. 33, 36 (1980). “[A] new trial is
warranted when a jury has reached a seriously erroneous result
.” Strickland v. 0wens Corning, 142 F.Bd 353, 357 (6th Cir.
1998). A “seriously erroneous result” is shown by: “(l) the
verdict being against the weight of the evidence; (2) the damages
being excessive; or (3) the trial being unfair to the moving
party in some fashion, i.e., the proceedings being influenced by
prejudice or bias.” Holmes v. CitV of Massillon, 78 F.3d 1041,
1045-46 (6th Cir. 1996). Here, Plaintiff contends that the
Jury’s verdict regarding damages was against the weight of the
evidence.
When ruling on a motion for a new trial based upon the
ground that the verdict is against the weight of the evidence:
[T]he trial court must compare the opposing
proofs, weigh the evidence, and set aside the
verdict if it is of the opinion that the
verdict is against the clear weight of the
evidence. lt should deny the motion if the
verdict is one which could reasonably have
been reached, and the verdict should not be
considered unreasonable simply because
different inferences and conclusions could
have been drawn or because other results are

more reasonable.

Strickland, 142 F.3d at 357 (quoting Holmes, 18 F.3d at l045-46).

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 6 of 8 Page|D 154

During the trial, Plaintiff presented undisputed evidence
that he received and paid for medical treatment after he was
taken into custody by the police. However, the undisputed
evidence at trial also showed that Plaintiff's automobile crashed
into a tree just prior to his apprehension by the Defendant
Officers. Having reviewed the entire record, compared the
opposing proofs, and weighed the evidence, the Court finds that
the Jury's verdict was not against the weight of the evidence.

The Court’s conclusion is supported by the instructions
given to the Jury. With respect to compensatory damages, the
Jury was instructed, in pertinent part:

You shall award actual damages only for those injuries
which you find the plaintiff has proven by a
preponderance of the evidence. Moreover, you shall
award actual damages only for those injuries which you
find plaintiff has proven by a preponderance of the
evidence to have been the direct result of the conduct
of the defendant.
(February 17, 2005, Trial Tr. at 22:16-21.) With respect to
Plaintiff’s § 1983 claim, the Jury was instructed that Plaintiff
was required to prove, inter alia, that the Defendant’s conduct
was the proximate cause of Plaintiff's injuries. With respect to
proximate cause, the Court instructed the Jury as follows:
The third element that plaintiff must prove regarding
his section 1983 claim is that the acts of the
defendant were the proximate cause of the injuries

sustained by the plaintiff.

Proximate cause means there must be a sufficient causal
connection between the act or omission of the defendant

Case 2:02-cv-02791-.]P|\/| Document 102 Filed 05/25/05 Page 7 of 8 Page|D 155

and any injury or damage sustained by the plaintiff.
An act or omission is a proximate cause if it was a
substantial factor in bringing about or actually
causing injury, that is if the injury or damage was a
reasonably foreseeable consequence of the given
defendant's act or omission. If an injury was a direct
result or a reasonably probable consequence of the
defendant's act or omission, it was proximately caused
by such act or omission. In other words, if the
defendant’s act or omission had such an effect in
producing the injury that reasonable persons would
regard it as being a cause of the injury, then the act
or omission is a proximate cause.

A proximate cause need not always be the nearest cause
either in time or in space. ln addition, there may be
more than one proximate cause of an injury or damage.
Many factors or the conduct of two or more people may
operate at the same time, either independently or
together, to cause an injury.
(February 17, 2005, Trial Tr. at 17:3-18:2.} Based upon these
instructions and the evidence presented at trial, the Jury may
reasonably have found that Plaintiff had not proven by a
preponderance of the evidence that his medical costs were the
result of the conduct of Defendant Officer Siebert, as opposed to
other unidentified individuals at the scene of the arrest or the
pre-apprehension accident.

For the reasons stated above, Plaintiff’s motion for additur

or, in the alternative, for a new trial is DENIED.

so eastern this ¢?`/ day er May, 2005.

mm‘@.o,@

J N P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:02-CV-02791 Was distributed by fax, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Robert D. Meyers

KlESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

1\/lemphis7 TN 38125

lean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

1\/lemphis7 TN 38103

Addie M. Burks

LAW OFFICE OF ADDIE M. BURKS
100 N. Main Building

Ste 23 10

1\/lemphis7 TN 38103

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/lemphis7 TN 38122--372

Amber Isom-Thompson

KlESEWETTER WISE KAPLAN SCHWIMMER & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

1\/lemphis7 TN 38125

Honorable J on MeCalla
US DISTRICT COURT

